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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

                                                           )
 JANE DOE,                                                 )        Civil Action No. 1:23-cv-01471
                                                           )
         Plaintiff,                                        )
                                                           )
         v.                                                )
                                                           )
 GLADSTONE PSYCHIATRY AND                                  )
 WELLNESS, LLC,                                            )
                                                           )
         Defendant.                                        )

                               STIPULATION OF DISMISSAL WITH
                                         PREJUDICE
        The parties hereby jointly notify the Court that this matter has been amicably resolved and it is

hereby stipulated that this matter be dismissed with prejudice and without costs.


 Dated: August 2, 2023                                Respectfully submitted,

                                                     /s/ Mary Vargas
                                                     Mary Vargas, Esq.
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                                                     Attorney for Plaintiff


                                                     /s/ Joseph B. Wolf
                                                     Joseph B. Wolf (Federal Bar No. 27882)
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                                                     Towson, MD 21204
                                                     joseph@luchanskylaw.com
                                                     Attorney for Defendant




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Stipulation of Settlement
was served on the following on this 2nd day of August, 2023, by the following method(s):

      Defendant
      Joseph Wolf
      Luchansky Law
      606 Bosley Avenue, Suite 3B
      Towson, MD 21204
      joseph@luchanskylaw.com
                                                         /s/ Mary Vargas
                                                         Mary Vargas, Esq.




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